                     EXHIBIT B

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  Payment Type        Payment Date   Clear Date       Amount        Invoice #   Invoice Date   Invoice Amount
                                                                   602585538      11/6/2019           4,586.55
  Electronic Pmt       12/5/2019     12/19/2019   $    66,064.29   602569551      11/6/2019          60,847.30
                                                                   602569550      11/6/2019             630.44
                                                                   602566949     11/11/2019           5,070.61
                                                                   602566950     11/11/2019          30,423.65
  Electronic Pmt       12/10/2019    12/20/2019       279,650.54   602566946     11/11/2019         285,061.83
                                                                   602566947     11/11/2019          22,015.43
                                                                   602566948     11/11/2019           2,751.93
                                                                   602554919     11/12/2019             546.87
                                                                   602554918     11/12/2019           8,197.89
  Electronic Pmt       12/11/2019    12/20/2019        22,690.21
                                                                   602554920     11/12/2019          14,075.59
                                                                   602554921     11/12/2019           1,310.06
                                                                   602525286     11/15/2019          11,769.23
                                                                   602525287     11/15/2019          13,690.63
  Electronic Pmt       12/13/2019    12/24/2019       414,451.48
                                                                   602525288     11/15/2019         369,249.78
                                                                   602590711     11/15/2019          19,741.84
                                                                   602569231     11/18/2019           5,070.61
                                                                   602569232     11/18/2019          30,423.65
  Electronic Pmt       12/17/2019    12/20/2019        46,976.14   602569233     11/18/2019          26,601.97
                                                                   602587807     11/18/2019           2,621.77
                                                                   602587808     11/18/2019          11,007.71
                                                                   602588247     11/19/2019           1,640.61
                                                                   602588248     11/19/2019           2,084.49
  Electronic Pmt       12/18/2019    12/24/2019        26,116.91
                                                                   602588249     11/19/2019             764.68
                                                                   602588631     11/19/2019          24,345.55
                                                                   602587182     11/20/2019           1,260.89
                                                                   602587183     11/20/2019          30,423.65
  Electronic Pmt       12/19/2019    1/16/2020         93,792.72   602587184     11/20/2019          60,847.30
                                                                   602587185     11/20/2019             630.44
                                                                   602587181     11/20/2019             630.44
                                                                   602584277     11/22/2019           5,897.44
                                                                   602584278     11/22/2019          25,569.90
  Electronic Pmt       12/20/2019    12/23/2019        85,505.28
                                                                   602584276     11/22/2019          47,963.51
                                                                   602573662     11/22/2019           6,074.43
  Electronic Pmt       12/23/2019    12/26/2019          209.89      158598      12/13/2019             209.89
                                                                   602578036      12/2/2019           6,923.99
                                                                   602589349      12/2/2019          12,249.81
                                                                   602578033      12/2/2019          30,423.65
                                                                   602578034      12/2/2019          10,141.22
                                                                   602578035      12/2/2019           5,160.07
  Electronic Pmt       12/31/2019    12/31/2019       433,876.35   602582070      12/3/2019             546.87
                                                                   602582068      12/3/2019           6,864.47
                                                                   602582069      12/3/2019          60,847.30
                                                                   602582067      12/3/2019           1,138.87
                                                                   602589232      12/3/2019          12,025.36
                                                                   602589231      12/3/2019         302,007.74
  Electronic Pmt        1/2/2020     1/21/2020         30,423.65   602589875      12/4/2019          30,423.65




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  Payment Type        Payment Date   Clear Date    Amount           Invoice #   Invoice Date   Invoice Amount
                                                                   602593475      12/6/2019           8,611.03
                                                                   602593476      12/6/2019          14,103.88
  Electronic Pmt        1/3/2020      1/3/2020       28,581.62
                                                                   602593477      12/6/2019           1,310.89
                                                                   602568620      12/6/2019           4,555.82
                                                                   602594122      12/9/2019          30,423.65
                                                                   602594127      12/9/2019          50,706.11
                                                                   602594123      12/9/2019          30,423.65
  Electronic Pmt        1/7/2020      1/7/2020      617,612.72     602594124      12/9/2019          30,423.65
                                                                   602594125      12/9/2019          30,423.65
                                                                   602594126      12/9/2019          15,211.85
                                                                   602594121      12/9/2019         430,000.16
                                                                   602580484     12/10/2019          23,974.07
                                                                   602580485     12/10/2019          30,587.00
                                                                   602580486     12/10/2019           2,751.93
                                                                   602580487     12/10/2019           6,421.17
                                                                 602590711<PB      1/6/2020             402.90
                                                                 602525286<PB      1/6/2020             240.68
  Electronic Pmt        1/8/2020      1/9/2020       80,609.67   602525287<PB      1/6/2020             279.39
                                                                 602525288<PB      1/6/2020           7,535.70
                                                                 602554920<PB      1/6/2020             287.25
                                                                 602566947<PB      1/6/2020             449.29
                                                                 602566950<PB      1/6/2020             620.89
                                                                 602569551<PB      1/6/2020           1,241.78
                                                                 602566946<PB      1/6/2020           5,817.62
                                                                   602580346     12/13/2019         385,899.39
  Electronic Pmt       1/10/2020     1/10/2020      452,631.74     602589980     12/13/2019          10,630.26
                                                                   602580345     12/13/2019          56,102.09
                                                                   602587783     12/16/2019           6,421.17
                                                                   602596825     12/16/2019          91,270.95
                                                                   602596826     12/16/2019          60,847.30
                                                                   602587784     12/16/2019          27,519.28
  Electronic Pmt       1/14/2020      2/4/2020      228,343.08
                                                                   602599401     12/16/2019           7,327.30
                                                                   602596106     12/16/2019          45,635.52
                                                                   602599100     12/16/2019           6,074.41
                                                                   602599628     12/16/2019          14,941.91
                                                                   602592515     11/25/2019          35,494.26
                                                                   602592516     11/25/2019          30,423.65
                                                                   602592519     11/25/2019          30,423.65
                                                                   602592517     11/25/2019          60,847.30
  Electronic Pmt       1/23/2020     1/23/2020      545,358.62     602592518     11/25/2019         389,657.64
                                                                   602592514     11/25/2019          20,282.48
                                                                   602568876     11/26/2019           3,547.28
                                                                   602568874     11/26/2019          14,860.13
                                                                   602568875     11/26/2019          21,630.85




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  Payment Type        Payment Date   Clear Date      Amount         Invoice #   Invoice Date   Invoice Amount
                                                                   602589045     12/30/2019           5,070.61
                                                                   602593579     12/30/2019          30,423.65
                                                                   602593582     12/30/2019          25,353.11
                                                                   602589044     12/30/2019          30,423.65
                                                                   602593577     12/30/2019          30,423.65
                                                                   602593578     12/30/2019         121,694.60
  Electronic Pmt       1/28/2020     1/28/2020       348,896.06    602593580     12/30/2019          60,847.30
                                                                   602593581     12/30/2019          10,141.24
                                                                   602593583     12/30/2019          30,423.65
                                                                   602589043     12/30/2019          38,690.86
                                                                   602589042     12/30/2019           1,221.18
                                                                   602593576     12/30/2019           7,278.92
                                                                   602593584     12/30/2019           9,465.30
                                                                   602594348      1/2/2020            1,310.53
  Electronic Pmt       1/30/2020     1/30/2020        51,207.71    602594349      1/2/2020           45,341.38
                                                                   602605972      1/2/2020            4,555.80
                                                  $ 3,852,998.68




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